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                          United States District Court
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                          Central District of California
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11   THERON AYCH,                               Case № 2:23-cv-07282-ODW (MARx)
12                    Plaintiff,
13        v.                                    JUDGMENT
14   UNIVERSITY OF ARIZONA et al.,
15
                      Defendants.
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18        Pursuant to the Court’s Orders Granting Defendants’ Motions to Dismiss, (ECF
19   Nos. 69, 70), it is therefore ORDERED, ADJUDGED, and DECREED as follows:
20        1.    Plaintiff shall recover nothing from Defendants;
21        2.    Plaintiff’s Complaint is dismissed on the merits and with prejudice.
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23        IT IS SO ORDERED.
24
25        July 16, 2024
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27                                 ____________________________________
28
                                            OTIS D. WRIGHT, II
                                    UNITED STATES DISTRICT JUDGE
